Case 1:01-cv-12257-PBS Document 6582-2 Filed 10/07/09 Page 1 of 6




            EXHIBIT 1
       Case 1:01-cv-12257-PBS Document 6582-2 Filed 10/07/09 Page 2 of 6




                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS



                                                            )   MDL No. 1456
In re: PHARMACEUTICAL INDUSTRY                              )   Master File No. 01-12257-PBS
AVERAGE WHOLESALE PRICE LITIGATION                          )   Subcategory Case No. 06-11337
                                                            )
                                                            )   Hon. Patti B. Saris
THIS DOCUMENT RELATES TO:                                   )
                                                            )
State of California ex rel. Ven-A-Care of the Florida       )
Keys, Inc. v. Abbott Labs, Inc. et al.,                     )
Civil Action No. 03-11226-PBS                               )
                                                            )

               DEFENDANTS’ REPLY BRIEF IN FURTHER SUPPORT
                 OF THEIR MOTION FOR AN ORDER GRANTING
                  LEAVE TO TAKE DEPOSITION OUT OF TIME

               Defendants Dey, Inc., and Dey, L.P. (collectively, “Dey”), and Mylan Inc., and

Mylan Pharmaceuticals Inc. (collectively, “Mylan”), on behalf of all Defendants in this action,

(“Defendants”) respectfully submit this reply brief in further support of their motion for an Order

permitting Defendants to complete the deposition of non-party witness Thomas Ahrens beyond

the June 15 discovery cut-off.

               Defendants believe that Mr. Ahrens has knowledge that is relevant to this action

and Plaintiff the State of California (“California”) does not deny this. Rather, California

contends that Defendants’ delay in seeking Mr. Ahrens’s deposition until June 6 was

unreasonable and unjustified because Defendants should have known prior to then that Mr.

Ahrens may have had relevant knowledge and that nothing in the documents produced by

California after March 16 created a compelling need for his deposition. This simplistic argument

ignores the procedural record and is completely lacking in merit. Defendants’ delay in seeking

Mr. Ahrens’s deposition was the result of careful deliberation by Defendants that was required
       Case 1:01-cv-12257-PBS Document 6582-2 Filed 10/07/09 Page 3 of 6




by California’s tardy production of its electronic production. Indeed, when California finally

completed its electronic production, Defendants had a mere three months to review the

productions, identify the ten individuals they believed most knowledgeable from a list of more

than 150, and complete their depositions.

               Defendants were appropriately reluctant to begin taking the depositions of

California witnesses before California completed its electronic production. See Declaration of

Brendan Cyr In Support of Defendants’ Motion To Take Deposition Out of Time (“Cyr Decl.”),

Ex. A, at 21:22-22:4. However, at the February 12, 2009 status conference, the Court limited the

Defendants to just ten further depositions. See id. at 21:22-22:4. California obtained the benefit

of this limitation and still did not complete its production of electronic documents to Defendants

until March 16. See Cyr Decl., Ex. A at 6:20 to 12:10, Ex. F. Thus, between March 16 and June

15, Defendants found themselves in the unenviable position of reviewing Plaintiff’s belated

electronic production, making educated guesses as to the ten most knowledgeable individuals,

and completing their depositions.

               Despite this predicament, Defendants moved expeditiously and noticed and took

nine depositions. Defendants chose deponents from a wide range of positions within California

Health and Human Services Agency (“HHS”), from Pharmacy Consultants in HHS’s Department

of Health Care Services (“DHCS”) like Katherine Ahrens and Vic Walker, who were responsible

for Medi-Cal pharmacy reimbursement issues as a regular part of their job, to Kimberly Belshé,

the Secretary of HHS. Defendants completed their depositions of Pharmacy Consultants

Katherine Ahrens on May 20 and Vic Walker on May 21, both of whom were particularly

knowledgeable. After those depositions it became clear that Tom Ahrens, also a Pharmacy

Consultant in DHCS during the relevant period, would be a valuable witness and Defendants




                                               -2-
       Case 1:01-cv-12257-PBS Document 6582-2 Filed 10/07/09 Page 4 of 6




moved him to their “short list” of potential witnesses. By that point, however, Defendants only

had one deposition left until they reached their ten deposition limit, and still had a number of

other candidates for the last spot. It was only after careful deliberation between Defendants’

counsel that Defendants were in a position to determine that Ahrens was the best choice for their

final deposition.

               Against this backdrop, California’s contention that Defendants unreasonably

delayed in asking for Mr. Ahrens deposition is totally unfounded. In this action, California seeks

to recover more than half a billion dollars from Defendants. Given their potential exposure, it

was entirely reasonable for Defendants to be cautious using their ten remaining depositions.

Moreover, considering that Defendants’ predicament was largely a result of California’s failure

to timely complete their production of electronic documents, it was entirely reasonable for

Defendants to believe that California would be agreeable to accommodating their relatively

modest request.

               That California identified Mr. Ahrens as an individual with potentially relevant

knowledge in its initial disclosures, served in August of 2007, and again in interrogatory

responses served in December of 2007 does not render Defendants’ delay “unreasonable.”

California’s argument ignores the fact that its interrogatory responses identify 44 other current

and former DHS employees in addition to Mr. Ahrens as having knowledge that AWP-based

reimbursement might result in payments higher than providers’ actual acquisition cost and 42

other current and former DHS employees as having knowledge of California’s decisions

concerning Medi-Cal drug reimbursement policies. See State of California’s Opposition to

Defendants’ Motion for an Order Granting Leave to Take Deposition Out of Time

(“Opposition”), at Ex. 4, pp. 36-45, 76-82. California likewise ignores that its initial disclosures




                                                -3-
       Case 1:01-cv-12257-PBS Document 6582-2 Filed 10/07/09 Page 5 of 6




identified over 150 current and former California state employees in addition to Mr. Ahrens as

having potentially relevant knowledge. That Mr. Ahrens’s name was buried in written

disclosures served more than a year before the June 15 deadline did not aid Defendants at all in

choosing how to use their ten depositions. If anything, it made the task more difficult.

               Nor does Defendants’ identification of Mr. Ahrens as one of 38 possible

deponents in January of this year make their conduct any less reasonable. California again

ignores the fact that list was prepared as part of a joint motion for clarification on certain orders

of the Court regarding the parties Joint Motion to Extend the Discovery Schedule and Amend

CMO 31. This motion was necessary as a result of California’s failure to complete its electronic

document production within the original discovery cut-off set by the Court. Indeed, the list itself

makes clear that it names individuals Defendants would like to depose once California completes

its electronic production. By the time California completed its electronic production, Defendants

were forced to winnow this list from 38 to ten.

               California’s arguments about the lack of any significant documents produced by

California after February 16 pertaining to Mr. Ahrens miss the mark. Defendants never

contended that they needed Mr. Ahrens’s deposition because of some late-produced piece of

discovery or other new development. Rather, as discussed at length above, Defendants’ decision

to seek Mr. Ahrens’s deposition came about through Defendants’ careful deliberation as to how

best to use the limited number of depositions, and was the result of a careful weighing of

multiple competing factors. Defendants pointed to California’s document productions after

March 16 merely to highlight how much more difficult California’s untimely document

productions made the process.




                                                  -4-
       Case 1:01-cv-12257-PBS Document 6582-2 Filed 10/07/09 Page 6 of 6




               If anything, California’s concession that it did not produce relevant documents

relating to Mr. Ahrens after the February 12 conference underlines the need for his deposition. It

is not surprising that California’s production of electronic document contains hardly any

documents pertaining to Mr. Ahrens, given that California failed to take adequate steps to

preserve electronic documents until December of 2005. See Dkt. No. 6000, Sub. Dkt. No. 201 at

10-14. Although he is no longer employed by DHS, documents produced by California indicate

that Mr. Ahrens was employed by DHS in the Pharmaceutical Unit of the Medi-Cal Contracting

section as late as December of 2001, more than three years after this lawsuit was commenced.

That California failed to produce any documents pertaining to him indicates that his electronic

documents were destroyed when he left DHS. Thus, the only way Defendants can learn of the

relevant information he may possess is through his deposition.

                                       CONCLUSION

       For the reasons set forth above, Defendants respectfully request that the Court grant this

motion and enter an order authorizing such relief.



Dated: October 7, 2009                       KELLEY DRYE & WARREN LLP


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